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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH DAKOTA
                                   SOUTHERN DIVISION

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                           *
 UNITED STATES OF AMERICA, *          CR. 09-40105-07
                           *
           Plaintiff,      *
                           *
      vs.                  *  REPORT AND RECOMMENDATION
                           *    ON DEFENDANT’S CHANGE
 ANDREW MARCO, a/k/a Andy, *          OF PLEA
                           *
           Defendant.      *
                           *
 ***************************************************


        This matter came before the court for a change of plea hearing on Monday, September 13,

 2010. The Defendant, Andrew Marco, appeared in person and by his counsel, Dave Palmer, while

 the United States appeared by its Assistant United States Attorney, Connie Larson.

        The defendant consented in open court to the change of plea before a United States

 magistrate judge. This court finds that the defendant’s consent was voluntary and upon the advice

 of counsel. The government also consented to the plea hearing before a magistrate judge. Further,

 the parties waived their right to object to the report and recommendation.

        Defendant has reached a plea agreement wherein he intends to plead guilty to the Second

 Superseding Indictment which charges him with Conspiracy to Distribute a Controlled Substance

 in violation of 21 U.S.C. §§ 841(a)(1) and 846. At the hearing, the defendant was advised of the

 nature of the charges to which the defendant would plead guilty and the maximum penalties

 applicable, specifically: mandatory minimum 10 years imprisonment; maximum life imprisonment;

 a $4 million fine; or both; 5 years supervised release; 5 additional years imprisonment if supervised

 release is revoked; and a $100 special assessment.
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        Upon questioning the defendant personally in open court, it is the finding of the court that

 the defendant is fully competent and capable of entering an informed plea, that the defendant is

 aware of the nature of the charges and the consequences of the plea, and that his plea of guilty to the

 Second Superseding Indictment is a knowing and voluntary plea supported by an independent basis

 in fact containing each of the essential elements of the offense. The defendant’s guilty plea to the

 Second Superseding Indictment is accepted. It is my report and recommendation that the defendant

 be adjudged guilty of that offense.

        Dated this 13th day of September, 2010.

                                                BY THE COURT:

                                                s/John E. Simko

                                                __________________________________________
                                                John E. Simko
                                                United States Magistrate Judge




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